 Case: 1:06-cr-00095-CAB Doc #: 54 Filed: 10/16/06 1 of 2. PageID #: 160




                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,                  :       CASE NO: 06-95      :
               Plaintiff,                  :       JUDGE CHRISTOPHER A. BOYKO
                                           :
       v.                                  :
                                           :
Miguel Johnson                             :
                                           :               ORDER
                                           :
                     Defendant.            :




                                           :

       This matter comes before the Court on Defendant’s Motion For Continuance of Trial

and Trial Related Deadlines. The Government does not object. For the reasons which

follow, the Court grants the Motion.

       On October 6, 2006, Defendant filed an unopposed Motion for Preparation of a Pre

Plea Presentence Investigation Report to obtain a criminal history calculation to determine

whether Defendant qualifies as a career offender.

       On October 11, 2006 the Court granted in part, ordering the United States Probation

Office to provide a calculation of Defendant’s criminal history points within ten days; to wit,

by October 21, 2006.

       The Defendant has argued, and this Court agrees, that receiving this information two

days prior to trial would deny Defendant effective assistance of counsel and due process.

       The Court is concerned with defense counsel’s ability to spend sufficient time with

the Defendant to review the calculations and discuss the implications of the calculations

on Defendants’s potential sentence.        Taking judicial notice of the Northeast Ohio
 Case: 1:06-cr-00095-CAB Doc #: 54 Filed: 10/16/06 2 of 2. PageID #: 161



Correctional Center’s lack of diligence in arranging attorney-client visits, psychological

exams, etc., the Defendant would be rushed in making a decision whether to plea or

exercise his right to trial.

       The Government has made a tentative plea offer, which as defense counsel notes,

may change depending upon the criminal history calculation. Further, the Court does note

this case is unusual, since the Government initially intended to dismiss the Defendant after

co-defendant Grubbs’ sentencing, but withdrew the offer and had him Supplementally

indicted after Defendant tested positive for drugs during drug treatment.



       Therefore, the Court concludes that the requested continuance will serve the ends

of justice and outweigh the best interest of the public pursuant to 18 U.S.C. §(A) and (B).



       IT IS SO ORDERED.




                                                 /s/ Christopher A. Boyko

                                                 CHRISTOPHER A. BOYKO

                                                 UNITED STATES DISTRICT JUDGE



DATED:10/16/2006
